      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 1 of 23




                                  Report of Gail Dines, PhD




Expert Qualifications

I am a tenured full professor of Sociology and Women’s Studies, and chair of the American
Studies Department at Wheelock College in Boston. I received my bachelor and doctorate
degrees from Salford University in the United Kingdom. My research focuses on images of
women in pornography, the political economy of the pornography industry, and the ways that
pornography shapes sexual identities, cultural norms, sexual templates, and behaviors. I have
studied the pornography industry and its effects for over 25 years, and have written widely and
lectured all over the world on the subject.

I am the co-author of a book on the pre-Internet pornography industry, and the sole author of a
second book on the history, economics, and cultural effects of Internet pornography. My second
book -- Pornland, How Porn has Hijacked our Sexuality, Beacon Press, 2010 -- was selected for
inclusion in the Sydney (Australia) Writers’ Festival, and has been translated into Polish,
Chinese, and Croatian. I am also the co-editor of one of Sage Publications’ best-selling
textbooks: a media studies book that is going into its fourth edition in January 2014.

I have published peer-reviewed articles in journals ranging from The Yale Journal of Law and
Feminism to Violence Against Women. I have been invited to give presentations and consult with
governmental bodies and NGOs in the US, Canada, Iceland, Norway, Scotland, Ireland, Israel,
Australia, and England, and I have given invited lectures in more than 200 colleges and
universities both here and abroad. I am a recipient of The Myers Center Award for the Study of
Human Rights in North America, and was senior consultant for the documentary The Price of
Pleasure: Pornography, Sexuality & Relationships (Media Education Foundation). My
curriculum vitae is attached as Exhibit 1.

I am being compensated at the rate of $350.00 per hour.

Key Points of Report

This report will address why 18 USC 2257, which requires primary producers and secondary
producers of sexually explicit material to comply with age-verification and record-keeping
requirements with respect to the performers depicted in the materials, is necessary for the
prevention of exploitation of minors by the producers. This report will argue that the vast
majority of women employed as performers by the pornography industry are either youthful or
very youthful looking, and only those genres called “Mature” and “MILF” (Mothers I Like to
Fuck), consistently include performers who are most likely well over the age of 18. However,
after reviewing scenes in these MILF and Mature genres, there are a significant number of videos

                                                1
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 2 of 23




where a youthful or very youthful looking performer appears together with the more mature
female performer (Appendix 1). Thus all genres of pornography with female performers have a
preponderance of female performers that are either youthful looking or very youthful looking.

This report will also show, using a range of methodologies, that the genre that uses very youthful
looking female performers, called “Teen Porn” by the industry (this term includes sub-genres
and search terms such as “School Girl Porn,” “Daughter Porn” and “Babysitter Porn”) is one of
the top two or three pornography genres, and by some measures might be the top genre. It is not
a marginal phenomenon. The various methodologies and sources yield somewhat different
results, but the overall picture is clear and consistent: Teen Porn accounts for a significant
proportion of total online pornography, accounting for between one-quarter and one-third of the
material on the most popular websites, depending on the scope of definition. Moreover, Teen
Porn has been growing rapidly in the last five years, and a Google Trends analysis indicates that
searches for Teen Porn have grown by 215%, or more than tripled, over the eight years for which
data are available.

Although there is a wealth of scholarship on the effects of pornography on attitudes and
behavior, there is a dearth of research on the actual content of internet pornography. What is
missing from the research is a detailed map of content of pornography found on the free porn
sites such as Pornhub.com. Because of this lack of empirical data, the only way a researcher can
provide an accurate detailed analysis of the content is to devote a substantial part of their career
to researching the images and trends in content by actually viewing the pornography on the tube
sites, and following the pop ups and links to the paid websites. I have been researching these
sites since they became popular, and in addition I follow the pornography industry’s business
website (XBIZ) to make sure that my observations are in line with the trend discussed on XBIZ.
It should be noted here that most of the pornography consumed today in the world is accessed
through the Internet, and the pornography print industry is significantly shrinking and may
become obsolete.

The Size and Scope of Pornography on the Internet

   •   37% of pages online contain pornographic content (http://www.optenet.com/en-
       us/new.asp?id=270)

   •   PornHub (one of the most visited pornography sites) has 2.5 billion page views per
       month (http://digitaljournal.com/article/322668#ixzz2OxyrCkuf)

   •   Most Internet sites average three to six minutes per visit. Porn sites average five times
       that—15-20 minutes per visit. (http://gizmodo.com/5899327/how-much-porn-does-the-
       internet-hold)



                                                 2
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 3 of 23




   •   A new porn video is produced every 39 minutes
       (http://www.huffingtonpost.com/2012/10/29/ten-porn-industry-facts-all-time-10s-
       video_n_2039449.html)

   •   Teen porn is the second most popular porn search term in the USA
       (http://www.pornmd.com/sex-search)

   •   Between December 2009 and December 2010, the pretax earnings of Manwin (one of the
       largest porn companies in the world) increased more than 40 percent
       (http://nymag.com/news/features/70985/index4.html)

   •   35% of all Internet downloads are pornography (http://www.mob76outlook.com/the-us-
       porn-industry-continues-to-get-bigger-and-bigger/)

   •   Every second, 28,258 Internet users are viewing porn
       (http://www.mob76outlook.com/the-us-porn-industry-continues-to-get-bigger-and-
       bigger/)

   •   Porn search engine requests (68 million) are 25% of the total search engine requests
       being made on the Internet worldwide every single day
       (http://www.mob76outlook.com/the-us-porn-industry-continues-to-get-bigger-and-
       bigger/)

Production/Distribution Map of the Contemporary Porn Industry

The Internet pornography industry is vast and made up of multiple genres and sub-genres, and
distributed through both paid sites and free porn “tube” sites. Most journalists who report on the
pornography industry would agree that the increasing popularity of the free porn “tube” sites
over the last few years has changed the way consumers interface with pornography (see, for
example, http://usatoday30.usatoday.com/money/media/2010-03-02-porn02_ST_N.htm). When I
was conducting research on the industry for my book (Pornland: How Porn has Hijacked our
Sexuality) in 2007-2008, putting the search term “porn” into Google, directed me mainly to porn
sites that required a membership fee in order to watch online pornography videos.

Today, the consumer is directed to free porn tubes, which are branded pornographic website
portals that provide a gateway to a vast quantity of videos and images that are uploaded by both
individuals and professional pornography producers. The tubes categorize the porn by genre.
They initially offer a wide array of free material but operate on a business model based on the
monetization of traffic, using advertising and links to paid sites. For example, the most traveled
tube porn site uses the domain name pornhub.com and is owned by Manwin.

Content is loaded onto tube sites from a variety of sources, some of which the owner of the tube
site controls, some of which are not under direct control. Content can be uploaded onto these


                                                 3
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 4 of 23




sites by any registered member of the tube site through what is called the ‘content partner
program.’ Membership is free; members can include non-professional individuals who upload
their personal material, or affiliated webmasters who upload material to direct traffic to their paid
sites. This method of opening up the points of production while controlling the point of
distribution has transformed the online industry and made it more difficult to verify the age of
the performer for four reasons.

   1. Much of production today is in the hands of small-time producers who, due to the
      increasing conglomeration and monopolization of the industry, as well as the
      downloading of pirated scenes, are struggling to survive. The porn industry has been
      described by some as an industry in crisis
      (http://www.guardian.co.uk/culture/2012/jun/05/how-internet-killed-porn), and the group
      most at risk for bankruptcy is the small-time producer. The production side of the
      pornography industry (the activities of those who actually film pornographic material,
      which the 2257 requirements consider primary producers) operates in terms of a
      fragmented supply chain where production is dispersed across a large number of small
      producers. This dispersion can be seen on the list of content producers listed on You
      Porn.com, the second largest porn site on the Internet. As evidenced by the list of
      custodians of 2257 records for the 180 official content producers
      (http://www.youporn.com/information/), pornography production takes place in
      numerous smaller studios located in the United States, Canada or Europe, including
      Cyprus, the Czech Republic, UK, Budapest and the Netherlands. See
      http://www.slickcash.com/usc.php, http://adultmovienetwork.com/exit/record/index.html
      and http://docs.eurorevenue.com/custodian.html for a few examples of dispersed
      production. Even where a secondary producer keeps records in a single location, such as
      Kink.com, http://www.kink.com/k/2257.jsp?c=1, there may be multiple dispersed
      primary producers. The large number of primary producers makes it difficult to maintain
      current and accurate records. Small, independent producers are unreliable, thus opening
      up the possibility for loss of records. For example, on YouPorn.com many of the listed
      custodian sites are no longer operational. For example, www.teen18.com,
      www.shaftuncovered.com, and http://pickupyourgame.com/usc2257.html no longer lead
      to a producer site with 2257 compliance or in the case of
      http://www.loverboysusa.com/2257.html, the 2257 listing is obscured. Given that many
      small-time production companies come and go, it is especially important that records are
      kept and that the requirements also apply to secondary producers, so that it can be
      verified that the performer is over 18.
   2. After studying the porn industry for over 25 years and my ongoing research on
      Internet pornography, it is clear that American-made pornography dominates, but, as
      shown above, there is a great deal of pornography produced in other countries, especially
      in Eastern and Central Europe. Eastern and Central European made porn is
      distinguishable from American made porn because the performers don’t speak English,

                                                 4
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 5 of 23




      or if they do it is heavily accented, and this pornography is often made in what looks
      like a private residence. Hence it would be impossible to track the age of the performer
      without compliance with 2257.
   3. Eastern and Central Europe is a major supplier for the “teen” porn genre, and for the sub-
      genre that is known as “defloration,” which purports to show a female having sex for the
      first time. In both of these, the women look more youthful than regular pornography
      performers. Again, this pornography is often made in what looks like a private residence
      and hence it would be impossible to track the age of the performer without compliance
      with 2257.
   4. Most of the free porn tube sites are owned by Manwin, a Luxembourg-based
      conglomerate with more than 700 employees that owns and operates well-traveled paid
      pornography sites (http://nymag.com/news/features/70985/index4.html). In its PR
      material, Manwin describes itself as “the leading international provider of high-quality
      adult entertainment, delivered through online, mobile and television media platforms. It is
      the owner of the largest network of adult websites in the world, with more than 60
      million daily visitors” (http://www.manwin.com/). A dispersed production model,
      together with increased concentration at the point of distribution means that a company
      can now upload, manage, and distribute pornographic content on websites but be
      completely disassociated from the original producers of the pornographic material. For
      example, the founders of Brazzers, a site now owned by Manwin, never visited a
      pornography set (http://nymag.com/news/features/70985/index4.html). Thus, absent
      record-keeping, both secondary producers and distributors removed from actual creation
      of the material will be unable to verify the age of the performer, which in turn would
      prevent others, such as law enforcement, from being able to verify these ages.

Given that youthful and very youthful performers are in the vast majority of images produced by
the porn industry, and the complexities inherent in a dispersed production model, and a
concentrated distribution system, it is my opinion that protection afforded by 2257 to children is
necessary.

Prevalence of Youthful and Very Youthful Looking Performers in Sexually Explicit Images

My ongoing research on the image of women in Internet pornography reveals an overwhelming
preponderance of youthful looking female performers. These performers are typically
curvaceous, have large breasts, often surgically augmented, and have no pubic hair. They tend to
wear heavy makeup (thus making them look older than they actually are), and have highly
coiffed hair. In fact, it could be said that the makeup together with fake breasts (and probably
hair) and shaved pubic areas, on the whole, create a standardized portrayal of an artificial female
whose age it would be difficult to pinpoint because the normal things we rely on to judge age are
disguised or modified.



                                                 5
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 6 of 23




The women are depicted as sexually aggressive in their behavior and words and will often
initiate the sex, asked to be “fucked harder” and use words like “cock,” “pussy” and “cunt” to
describe genitals. However sexually experienced these performers may appear, because most
girls look sexually mature by the age of 14, there is no assurance, absent age verification, that a
female performer is not a minor. In addition breast size and behavior, by themselves, provide no
certainty that these performers are 18 or over. For example, research by Professor Marcia
Herman-Giddens at the University of North Carolina on 17,000 girls found that the average age
of breast-budding among white girls was 9.9 years while for black girls it was 8.8.

Appendix 3 is a screen shot of the 61 categories (genres) on Pornhub.com (2.5 billion page views
per month). Nearly all the categories depict youthful looking women and the “Teen,” “Small
Tits,” and “College” have female performers that look even more youthful than the majority of
youthful looking performers in the other categories. It needs to be stressed that while these
categories are used by the distributor and the consumer to sort through a vast amount of
pornography, they are not discrete in that the content crosses multiple categories. For example,
within the category “Anal” there are videos with titles such as “Anal Teen Fuck Fest,” “Teens
Gets First Anal” and so on. Within the MILF category there are videos with titles such as “Fuck
My Mom and Me” and “Threesome with Step Daughter” that are in the MILF category because
at least one of the female performers looks more mature than the majority of performers in
pornography, but there are both youthful and very youthful looking performers also in these
videos.

In addition to the youthful looking performers who are found in all genres, there is a growing
trend to depict very youthful females in pornography. Very youthful looking female can be found
in a number of genres (referred to as categories on the free porn sites). Most common is that
genre/category called “Teen Porn,” and a Google Trends analysis indicates that searches for
Teen Porn have grown by 215%, or more than tripled, over the last eight years (timefor which
data are available) (see Table 5). Teen Porn was by far the fastest growing genre over this period.
On the porn tube sites, ‘teen porn’ is multiply tagged with terms such as “Lolita,” “Daughter,”
“School Girls,” and “Young Pussy” (see Table 2). These tags are used to capture traffic
searching for a variety of terms related to very youthful looking performers. A high proportion of
those videos found within the “teen porn” and to a lesser extent, in related tags, tend to be
generic and formulaic in their use of very youthful looking performers, props and language that
“childify” the performer.

It should be noted that in pornography targeted to a gay male market, the use of youthful looking
boys is found across genres, but is more prevalent in that genre called “Twink” pornography.
Twink is a term used in the gay community to refer to a youthful looking male who lacks body
and facial hair, and has a slender build (Appendix 2)




                                                 6
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 7 of 23




The Growth of Very Youthful Looking Female Performers in the Mainstream
Pornography Industry

Background

The first popular mainstream pornography publication to feature women who look even more
youthful than regular pornography performers was Barely Legal magazine, first produced in
1974 by Larry Flynt Publications. A pornographer known for pushing the envelope, Flynt was
ahead of his time in understanding the potential profit of this niche market. While this was a
small market for many years, it was the domestication of the Internet after 2000 that made Barely
Legal a more well-known site because Flynt was a pioneer in moving pornography from
magazines and videotapes to the Internet. As well as a well-traveled website, Barely Legal just
released DVD 132 onto the market in December 2012.

        While there were some competitors to Barely Legal, the market in very youthful looking
female performers became a major niche market after the 2002 case of Ashcroft v. Free Speech
Coalition. Here the Supreme Court ruled in favor of the coalition when it declared the 1996
Child Porn Prevention Act unconstitutional because its definition of child pornography (any
visual depiction that appears to be a minor engaging in sexually explicit conduct) was ruled to be
overly broad. The law was narrowed to cover only those images where an actual person (rather
than one who appears to be) under the age of 18 depicted in the porn, thus opening the way for
the porn industry to use either computer-generated images of children or real porn performers
who, although 18 and over, are childified to look like minors.

Accessing Teen Porn Sites

While there are a number of ways to access those sites that childify performers, the main one is
typing Teen Porn into Google. This yields between 57 million to 60 million hits depending on
the time and day the consumer is searching for these sites. The first site that appears is
Pornhub.com, which is a top visited porn site (see table 4). When you arrive at Pornhub.com,
you are met with hundreds of free videos with titles such as Horny Teen Gets Facial, Hot Teen
Gets Fucked by Friend’s Dad, Rocco Almost Breaks a Teen in Two and so on (Appendix 3)

As you click on any of the hundreds of images, you can watch a free hardcore pornography video
that can be as short as five minutes or as long as an hour. Some of these videos show a single
childified performer masturbating while other feature acts that include rough anal and vaginal
sex, choking a female performer with a penis, ejaculation onto the body, into the mouth and on
the face, multiple penetrations (one female performer, three men orally, vaginally and anally
penetrating her at the same time), double anal (two penises in the anus at the same time, and
double vagina (two penises in the vagina at the same time). It is not unusual to see a childifed
performer with four or five penises in her orifices at any one time.



                                                7
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 8 of 23




Clicking on a few images immediately reveals the business model behind these “free” porn sites.
The goal of a free porn site is to “monetize traffic,” which means encouraging consumers to click
onto sites where they have to pay a membership fee. To explain how this works I will describe
the process from putting teen porn into Google, through to the end process of being directed to a
paid site.

   1. Type “teen porn” into Google

   2. Enter pornhub.com and click on free video called “Freckled Amateur Teen Fucked”

   3. As this is playing, pop-ups for paid sites featuring young looking performers appear by
      the side, underneath and actually on the video itself.

   4. I clicked on one of these, called IFuckedherFinally.com

   5. Hundreds of images of very young looking performers fill the page

   6. After one more click I was taken to payment page with a form for joining

   7. Membership is $34.95 for 30 days, or $59.95 for 90 days

   8. Membership offers free access to 27 other sites with very young performers such as
      Lovely Teen Land, Wild Young Honeys, Daddies and Darlings.

Most of the female performers depicted in these videos were childifed through a range of
techniques.

Visual, Verbal, and Textual Techniques for Childifying the Performer

The performers in the teen genre are typically small breasted, sometimes having little more than
breast buds. Indeed, they may have smaller breasts than actual sixteen or seventeen year old
girls. These individual tend to be slightly built, with adolescent looking faces that are relatively
free of makeup. Their hair is often in braids or pony tails, and they frequently are clothed in
child-looking outfits that include knee-high socks, school uniforms, sweat shirts/T-shirts with
animal motifs, Mary Jane shoes, and/or school gym wear (Appendix 4, 5, 6, & 7). Other props of
childhood include:

   •   bed sheets with flowers, animals or hearts

   •   Stuffed animals on the bed and in the room

   •   Lollipops and candy on or near the female performer

   •   Pastel-colored ribbons in the hair

   •   Braces on their teeth,

                                                 8
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 9 of 23




It is not unusual to see a female porn performer wearing a school uniform, sucking a lollipop,
and hugging a teddy bear, as she masturbates with a dildo. Virtually all of these performers are
lacking pubic hair, which in itself is a sign of pre-pubescence. It should be noted however that
over the years this has become a common practice for all pornography performers.

         In addition to the image clues of childhood surrounding the female performer in teen
sites, the written text accompanying the images helps set the context for representing the
performers as a child. The words used to describe their bodies (including their vaginas) – tiny,
small, petite, tight, cute, teeny – not only stress their youthfulness but also work to separate them
from performers on other sites. Most striking is how many of these teen sites refer to the female
as sweeties, sweethearts, little darlings, cutie pies, honeys; terms of endearment that starkly
contrast with the abusive names the women on other sites are commonly called like slut, whore,
cumdumpster, and cunt. The use of kinder terms on teen sites is a method of constructing the
notion for the consumer that these girls are somehow different from the rest of the performers
who populate the world of porn. This would explain why so many of these web sites have the
word Innocent in their name – Innocent Cute, Innocent Dream, Innocent Love, and Petite
Innocent.

Many pornography sites have text accompanying the video or image that purports to be the
performer speaking to the viewer. On those sites that fall into the teen genre, the text is written to
make the performer seem very youthful. Some examples below:

“Evdokiya”

 "I had a lot of fun when we made this video of me masturbating. I had many orgasms and the
photographer is extremely nice to me. I was very shy and I blushed as I took off schoolgirl
uniform. I like doing this for you." (http://soloteengirls.net/) Accessed 3/26.2013

“Tanya”

"I am so happy to be on Solo Teen Girls. My friends have told me about it and I have had fun
being in front of the camera. I blush when I think of people watching me play with myself but I
like it too." (http://soloteengirls.net/) Accessed 3/26.2013

Using words like blush, shy, nice, and fun, signal to the consumer that these performers appear to
be less mature and less experienced than the female performers who normally populate the
pornography world. In other sub-genres, youthful and mature looking women performers do not
use words such as blush or shy and instead describe themselves in more pornographic terms such
as “dirty sluts,” “nasty whores” and “filthy bitches.” As a scholar who has spent over 25 years
studying the image of women in pornography, it is my opinion that the female performers in
those sites accessed through typing the word “teen porn” into Google, are carefully and
purposely made to look like children to create for the consumer an experience that replicates
masturbating to actual child pornography. Given this, children must be protected from being

                                                  9
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 10 of 23




used as performers by the pornography industry because an actual child would provide an even
more authentic experience for those men who put “teen porn” into Google.

Other Genres/Categories that use Very Youthful (non-childified) Looking Performers

The other popular genres that use very youthful looking performers are “College Porn,” “School
Girl Porn” “Baby Sitter Porn,” “Daughter Porn” (appendix 8) and “Virgin Porn.” Typically their
bodies look more developed than performers in Teen Porn, but they are still depicted as sexually
inexperienced, naive, easily manipulated into sex, and eager to please their male sex partner, who
is often presented as more mature and in a position of power over the female performer (for
example, teacher, father, coach, employer).

        In the category of Virgin Porn (for example sites called Virgin Haven, First Time Sex,
Real Virgins, and Defloration), the sex depicted tends to differ from much of the sex on other
porn sites because the female performer in these sites look inexperienced. In place of the
writhing, oiled, voluptuous women who act sexually experienced, these performers look like
more youthful females who are unsure of how to perform sex for the camera. Their bodies are
not arched in the same way and their movements are awkward, sometimes to the point of being
clumsy. This is one way of signaling to the consumer that these performers are more youthful by
virtue of their lack of sexual experience.

        One site that is advertised on a number of free porn sites and that pops up one paid teen
porn sites is Defloration.com. Claiming to be “The first website about virginity since 1998,” with
“real acts of defloration,” the homepage is dominated by a picture of two hands stretching open a
vagina so the user can get a clear view of the internal genitalia, which depicts, the site claims, an
“intact hymen.” In the videos on the site there is often a long and drawn out scene of her being
penetrated as she is grimacing and often asking her penetrator to be careful because the act is
painful. This continues, sometimes for 10-15 minutes, until he withdraws his blood-stained
penis. The camera lingers on the penis, showing the user clear evidence of the “defloration”
before the male performer takes his penis and smears the blood over the buttocks and thighs of
the female (Appendix 9).

       This documentation that the performer has bled (and thus proving that she was a virgin),
together with her very youthful body and sexual inexperience, produce an image of a very
youthful female. Many of these scenes appear to be produced in Eastern and Central Europe
because the women don’t speak English and are given names such as Kati Majorova and Anna
Celkova.




                                                 10
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 11 of 23




    Prevalence and Growth of Pornography Featuring Very Youthful Looking Female
                                    Performers


There are two main ways to estimate the prevalence of online pornography that portrays what the
pornography industry defines as teen porn.
   1. Search terms - We estimate the number of times particular phrases are entered into
       search engines such as Google.
   2. Web sites – We estimate the number of web sites devoted to teen pornography

Definition for Purposes of this Research
Teen porn here is defined as those sites that depict in videos, images and words young women
with childlike and/or teenage characteristics. Major sites call this segment ‘teen’, but a range of
other terms are used on websites and appear frequently as search terms, such as Lolita,
schoolgirl, incest and daughter (see tables 2 and 3). For each methodology, we have included
search terms with the highest rankings, which vary somewhat across the methodologies used.

While, for the purpose of this research, genres are broken down into categories that are tagged as
Teen, as well as other categories such as Asian, Lesbian, and MILF, it should be noted that all
categories in the following Tables and Figures contain images of both youthful and very youthful
performers.

In order to provide statistical evidence on the prevalence and growth of pornography featuring
very youthful looking female performers, I collaborated with Dr David L. Levy who is Professor
and Chair of the Department of Management and Marketing at UMass-Boston. Dr. Levy is my
husband and holds a Doctorate of Business Administration from the Harvard Business School.
Together we researched the free porn sites to develop a list of categories that were most common
across a range of sites, investigated the way that videos are multiply tagged, collaborated on
developing a range of methodologies that would yield data on the prevalence of online
pornography that portrays what the pornography industry defines as teen porn.


   1. Search Terms

Existing Studies and Sources

The book by Ogi Ogas and Sai Gaddam A Billion Wicked Thoughts (Dutton Adult, 2011)
“examined erotic content online from around the world, including a billion anonymous Web
searches, a million pornographic websites, a million erotic videos and more”. 1 The book was
reviewed by the New York Times. 2 The authors used the search facility Dogpile to analyze data
from the leading search engines Google, Bing and Yahoo and ranked the most frequently used
search terms relating to sex. “Youth” was the top term, at 13.5%, nearly three times the second
term, Gay, at 4.7%. The top ten list is Table 1.

The website www.pornmd.com claims to be the world’s biggest porn search engine. It offers a
site on Global Internet Porn Habits, an “interactive infographic [that] shows the top 10 most
                                                 11
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 12 of 23




commonly searched terms on porn sites over a 6 month period. You can check out every state in
the U.S. and then see what other countries around the world are searching for”
(http://www.pornmd.com/sex-search). Figure 1 shows the list for the US as a whole, and ‘Teen’
is ranked in second place, after MILF. Teen was the top search term for 13 states: Oregon,
Nevada, Arizona, Wyoming, Utah, Colorado, New Mexico, S. Dakota, Texas, Missouri, Indiana,
Florida, and Maine (accessed 3.23.2013).


Analysis of Google Trends

Google offers a facility to chart search term frequency: 3 http://www.Google.com/trends/
The charts are scaled so that 100 represents the peak search volume. The charts provide insight
into the relative frequency of different search terms and their trends over time. Figure 2
represents the frequency of five top porn genres for the 5 year period January 2008 to January
2013 in the US. We used popular porn genres identified on pornmd and pornhub, and then used
Google trends to identify and chart the five most popular search terms used in the US. 4 This
chart demonstrates that teen porn is the third most popular genre. Figure 3 represents the
same five search terms worldwide: teen is in second place. Figure 4 is a chart with most the
popular search terms that are also frequently used to search for teen porn in the US. The chart
indicates that the total volume of searches for teen porn and related terms is more than
double the volume for ‘teen porn’ alone. This is notable because other categories such as
MILF and gay porn do not have popular alternative terms. It is likely, therefore, that Fig. 2
substantially understates the relative ranking of teen porn searches relative to other genres.

Google trends analysis indicates that searches for Teen Porn have grown by 215%, or more
than tripled, over the eight years for which data are available (see Table 5). Teen Porn was by
far the fastest growing genre over this period. Over the last five years, searches for Teen Porn
have grown by 87%, second to Gay Porn, which grew 89%.


Analysis of WordTracker Search Terms

The website SEObook (SEO is Search Engine Optimization) offers a website that provides
estimates of total daily searches on particular key words and related terms, using the top 3 search
engines, Google, Yahoo and Bing. 5 Entering “teen porn”, for example, gives estimates for nearly
100 search phrases that include the two words “teen” and “porn”, such as “young teen porn” and
“free teen porn videos”. These results were summed to give the total daily searches on each term.
The results (see Table 2) indicate that teen porn is a large category in relation to other genres,
and potentially the largest single genre when related terms such as Teen Sex and Teen Pussy
are included. 6 Total searches for teen-related porn are approximately 486,000 daily by this
methodology. 7 This compares with a daily total of approximately 1.1 million searches that
include the word “porn”.




                                                12
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 13 of 23




   2. Web sites

Total Google Search Results by Search Term

One method of estimating the prevalence of websites related to particular themes is simply to put
the term into Google and record the total number of hits (search results, each of which links to an
accessible webpage). This is not a very accurate method, and does not indicate volume of traffic
or searches. 8

 Putting the term “porn” in Google gives 1.38 billion hits, but this includes all mentions of the
word in news sites, discussion forums indexed by Google, and other documents. Table 3
indicates the total Google hits for a series of search terms related to teen porn. Searches were
performed with the terms in quotation marks to yield only sites with the precise phrase. The
phrase “teen porn” gives 57.8 million hits, 4.2% of that for “porn”, and it is the second largest
category, after gay porn. The total including related terms is 152 million, or 11% of the total for
porn. A comparison of the Google hits for teen porn and related terms indicates that it is by
far the largest genre. 9




Google Search Results within Popular Free Porn Tubes

The three most popular porn “tubes” (offer a large quantity of videos and images across a range
of genres. 10 Google provides an advanced search facility that enables searches within domains.
We searched within the three highest-ranked porn sites for teen and other genres. Table 4
displays the results. “Site Rank US” refers to the ranking of the website within the US, compared
to all websites (Google itself is ranked 1, Facebook is 2, and so on). “Total hits” refers to the
total number of search results within the domain.11 “Teen” refers to the number of hits within the
domain that include that term. The results indicate that teen is the largest single category, and
appears on 14.4 million (27%) of the 52.6 million webpages within these three sites.
Including related terms such as “young” and “schoolgirl”, the number of hits rises to 17.97
million (34.2%). 12




                                                13
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 14 of 23




                                           Conclusion

After many years of researching the foregoing:

   •    The Image of women in Internet pornography and noting the over representation of
        youthful and very youthful looking female performers in all genres
   •    The techniques used to make female performers look even more youthful in the “Teen”
        porn genre
   •    The economic structure of the pornography industry with a dispersed production model
        and a concentrated distribution system
   •    The high prevalence of teen searches and sites

it is my considered opinion that the requirements of 2257 serve a vital and valuable purpose of
ensuring that those depicted are not children given the risk to children posed by the ubiquity of
youthful and very youthful images found in Internet pornography.

/s/ Gail Dines, Ph.D




                                                 14
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 15 of 23




Table 1.
The top 10 search terms about sex from Ogi Ogas and Sai Gaddam A Billion Wicked Thoughts
(Dutton Adult, 2011). 13

   1. Youth (13.5%)
   2. Gay (4.7%)
   3. MILFs (4.3%)
   4. Breasts (4%)
   5. Cheating wives (3.4%)
   6. Vaginas (2.8%)
   7. Penises (2.4%)
   8. Amateurs
   9. Mature
   10. Animation


Table 2.

Analysis of WordTracker search terms from SEOBook website.

The daily estimated daily search totals (performed 3.23.2013) for porn, teen porn and related
terms, and some other popular genres:

Porn         1,090,068 (includes longer search phrases that include “porn”)

Teen Sex     115,658
Teen Porn    112,222
Teen Pussy     94,179
Preteen Porn 73,756
Incest Porn    47,139
Tiny Tits      39,082
Pedo Porn      16,207
Daughter Porn 15,260
College Porn 10,519
             ---------
Total        524,022
               38,000 Estimated overlap among categories

Net Total      486,022

MILF         298,649
Gay Porn     103,866
Lesbian Porn 67,274
Asian Porn    34,108




                                               15
       Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 16 of 23




Table 3.

Searched 3.27.2013    Total Google hits (million)
                      for various keywords
Porn                                      1380.00

"teen sex"                                 61.10
"teen porn"                                57.80
"teen pussy"                               36.00
"tiny tits"                                18.90
"barely legal" porn                        14.10
"young porn"                               10.50
"young pussy"                              10.40
"incest porn"                               3.50
"college porn"                              2.68
"lolita porn"                               1.80
"schoolgirl porn"                           1.60
"daughter porn"                             1.03
"pedo porn"                                 0.75
"babysitter porn"                           0.44

Total                                     220.60
Net total                                 152.00

"gay porn"                                 69.30
"asian porn"                               27.90
"anal porn"                                22.70
"lesbian porn"                             18.10
"milf porn"                                15.00




                                              16
     Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 17 of 23




Table 4.

Google Hits within Popular Pornography Domains
(millions)
                    Pornhub     XNXX       Redtube       Total      %
Site Rank US              40       76           80
Total hits             25.70    23.20         3.68       52.58

Teen                     5.80     6.28         2.36      14.44       27.5
Young                    2.43     3.51         0.35       6.29       12.0
College                  1.84     1.22         0.07       3.13        6.0
Schoolgirl               0.46     0.98         0.04       1.48        2.8
Daughter                 0.29     0.54         0.02       0.85        1.6
Total teen+              7.75     7.73         2.49      17.97       34.2
 related

Anal                     5.72     5.58         2.33      13.63       25.9
MILF                     5.42     4.90         1.61      11.93       22.7
Amateur                  4.29     5.50         2.13      11.92       22.7
Lesbian                  2.53     3.60         2.09       8.22       15.6
Gay                      2.06     1.19         1.96       5.21        9.9

notes:
1. percentages add to more than 100 because sites have multiple tags
2. ranking of websites from Alexa.com
3. search was performed 3.27.2013
4. Total teen+ related includes the 4 search terms Teen, Young, College, and
Daughter
using OR connector in search to avoid double counting i.e. the net total.




                                                  17
     Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 18 of 23




Table 5:

Comparative Growth Rates of Top Pornography Genres
Based on Google Trends search interest index

               % Change Over Time
                  Jan '04 - Feb '13     Jan '08-Jan '13
Teen porn                   215.4%               87.1%
MILF                        -17.4%               -3.2%
Gay                         119.0%               89.5%
Asian                         0.0%              -13.3%
Lesbian                     163.6%               68.0%




                                             18
     Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 19 of 23




Figure 1. Global Porn Habits, PornMD. 10 Most Common Searches on Porn Sites in USA
http://www.pornmd.com/sex-search 3.23.2013




                                           19
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 20 of 23




Figure 2.
Frequency of five top porn genres for the 5 year period January 2008 to January 2013 in the US




                                              20
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 21 of 23



Figure 3.

Frequency of five top porn genres for the 5 year period January 2008 to January 2013,
Worldwide




                                              21
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 22 of 23



Figure 4.

Frequency of five top terms used to search for teen porn, 5 year period January 2008 to January
2013 in the US.




                                               22
      Case 2:09-cv-04607-MMB Document 178-7 Filed 05/10/13 Page 23 of 23




Footnotes


1
  http://www.huffingtonpost.com/2011/04/26/sex-study-internet-search-terms_n_854034.html
2
  http://www.nytimes.com/2011/07/31/books/review/a-billion-wicked-thoughts-by-ogi-ogas-and-sai-
gaddam-book-review.html
3
  Google holds about 66% of search market share in the US. http://techcrunch.com/2012/10/11/comscore-
Googles-search-engine-market-share-increased-in-september-yahoo-down-another-0-6-percentage-points/
4
  Google trends charts are limited to five search terms.
5
  http://tools.seobook.com/keyword-tools/seobook/
6
  The overlap across these searches was estimated by looking for common search terms in each list
generated by a search. E.g. ; the search term count for “teen porn” and “teen pussy” included 353
overlaps, via the search phrase “teen pussy porn”. Note that WordTracker provides only the top 100
search term combinations, so the actual total of daily searches is even larger.
7
  This is a very conservative estimate because other search terms are also used. For example, Wordtracker
indicates that over 400,000 searches a day include the term “Lolita”, such as “Lolita sex” (8,000 searches)
and “Lolita porn” (13,000 searches). We did not include Lolita because the primary term does not
necessarily refer to pornography.
8
  The number of hits can vary significantly from day to day. There is also overlap across Google searches,
as many sites contain multiple key words to attract traffic. The total hit for, say, “teen porn” and “teen
pussy” cannot be simply added together. This is different from the analysis of search terms, which counts
the number of times particular phrases are used, so the results can be summed.
9
  Note that the other genres, such as gay and MILF, do not have significant alternative terms.
10
   Alexa.com provides rankings for websites based on traffic. US rankings were used.
11
   Each result is an accessible webpage. Most of these are individual videos.
12
  This total combines the 4 search terms: Teen, Young, College, and Daughter. The search employed the OR
connector between terms to avoid double counting sites with more than one tag.
13
  The Huffington Post article includes the following note: “ A previous version of this top ten list
included "butts" (.9%) and "cheerleaders" (.1%) as the 9th and 10th most popular queries, respectively.
Ogas clarified that "butts" and "cheerleaders" are the 21st and 79th most popular searches, respectively,
and that "amateurs," "mature" and "animation" are the 8th, 9th, and 10th most popular searches”




                                                      32
